       Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 1 of 9


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 6
 7
 8                                UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10
11   GERARDO HERNANDEZ,                             )   No.
                                                    )
12                   Plaintiff,                     )   COMPLAINT ASSERTING DENIAL OF
                                                    )   RIGHT OF ACCESS UNDER THE
13           vs.                                    )   AMERICANS WITH DISABILITIES ACT
                                                    )
     ANABE, INCORPORATED,                           )   FOR INJUNCTIVE RELIEF, DAMAGES,
14
                                                    )   ATTORNEYS’ FEES AND COSTS (ADA)
15                   Defendant.                     )
                                                    )
16                                                  )
                                                    )
17                                                  )

18                                          I. SUMMARY
19           1.      This is a civil rights action by plaintiff GERARDO HERNANDEZ (“Plaintiff”)
20   for discrimination at the building, structure, facility, complex, property, land, development,
21   and/or surrounding business complex known as:
22                   ABE Gasoline aka ABE Petroleum
                     17715 Mission Boulevard
23
                     Hayward, CA 94541
24                   (hereafter “the Facility”)

25           2.      Plaintiff seeks damages, injunctive and declaratory relief, attorney fees and

26   costs, against ANABE, INCORPORATED (“Defendant”), pursuant to Title III of the

27   Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101 et seq.) (“ADA”) and related

28   California statutes.



     Hernandez v. Anabe, Incorporated
     Complaint
                                                 Page 1
       Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 2 of 9


 1                                        II.         JURISDICTION
 2             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA
 3   claims.
 4             4.    Supplemental jurisdiction for claims brought under parallel California law –
 5   arising from the same nucleus of operative facts – is predicated on 28 U.S.C. § 1367.
 6             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
 7                                              III.     VENUE
 8             6.    All actions complained of herein take place within the jurisdiction of the United
 9   States District Court, Northern District of California, and venue is invoked pursuant to 28
10   U.S.C. § 1391(b), (c).
11                                              IV.     PARTIES
12             7.    Defendant owns, operates, and/or leases the Facility, and consists of a person
13   (or persons), firm, and/or corporation.
14             8.    Plaintiff is substantially limited in his ability to walk, and must use a wheelchair
15   for mobility. Consequently, Plaintiff is “physically disabled,” as defined by all applicable
16   California and United States laws, and a member of the public whose rights are protected by
17   these laws.
18                                               V.       FACTS
19             9.    The Facility is open to the public, intended for non-residential use, and its
20   operation affects commerce. The Facility is therefore a public accommodation as defined by
21   applicable state and federal laws.
22             10.   Plaintiff lives within ten miles of the Facility and visited the Facility on or about
23   October 9, 2019 to fuel his vehicle. During his visit to the Facility, Plaintiff encountered
24   barriers (both physical and intangible) that interfered with, if not outright denied, Plaintiff’s
25   ability to use and enjoy the goods, services, privileges and accommodations offered at the
26   Facility. Specifically, Plaintiff wanted to park so that he could go into the store to pay for his
27   gas, but he could not find any accessible parking in the Facility’s lot. Instead, he had to wait in
28   the car while his brother paid and pumped the gas for him.



     Hernandez v. Anabe, Incorporated
     Complaint
                                                       Page 2
       Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 3 of 9


 1           11.     The barriers identified in paragraph 10 herein are only those that Plaintiff
 2   personally encountered. Plaintiff is presently unaware of other barriers which may in fact exist
 3   at the Facility and relate to his disabilities. Plaintiff will seek to amend this Complaint once
 4   such additional barriers are identified as it is Plaintiff’s intention to have all barriers which
 5   exist at the Facility and relate to his disabilities removed to afford him full and equal access.
 6           12.     Plaintiff was, and continues to be, deterred from visiting the Facility because
 7   Plaintiff knows that the Facility’s goods, services, facilities, privileges, advantages, and
 8   accommodations were and are unavailable to Plaintiff due to Plaintiff’s physical disabilities.
 9   Plaintiff enjoys the goods and services offered at the Facility, and will return to the Facility
10   once the barriers are removed.
11           13.     Defendant knew, or should have known, that these elements and areas of the
12   Facility were inaccessible, violate state and federal law, and interfere with (or deny) access to
13   the physically disabled. Moreover, Defendant has the financial resources to remove these
14   barriers from the Facility (without much difficulty or expense), and make the Facility
15   accessible to the physically disabled. To date, however, Defendant refuses to either remove
16   those barriers or seek an unreasonable hardship exemption to excuse non-compliance.
17           14.     At all relevant times, Defendant has possessed and enjoyed sufficient control
18   and authority to modify the Facility to remove impediments to wheelchair access and to
19   comply with the 1991 ADA Accessibility Guidelines and/or the 2010 ADA Standards for
20   Accessible Design. Defendant has not removed such impediments and has not modified the
21   Facility to conform to accessibility standards. Defendant has intentionally maintained the
22   Facility in its current condition and has intentionally refrained from altering the Facility so that
23   it complies with the accessibility standards.
24           15.     Plaintiff further alleges that the (continued) presence of barriers at the Facility is
25   so obvious as to establish Defendant’s discriminatory intent. On information and belief,
26   Plaintiff avers that evidence of this discriminatory intent includes Defendant’s refusal to adhere
27   to relevant building standards; disregard for the building plans and permits issued for the
28   Facility; conscientious decision to maintain the architectural layout (as it currently exists) at the



     Hernandez v. Anabe, Incorporated
     Complaint
                                                     Page 3
          Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 4 of 9


 1   Facility; decision not to remove barriers from the Facility; and allowance that Defendant’s
 2   property continues to exist in its non-compliant state. Plaintiff further alleges, on information
 3   and belief, that the Facility is not in the midst of a remodel, and that the barriers present at the
 4   Facility are not isolated or temporary interruptions in access due to maintenance or repairs.
 5                                        VI.     FIRST CLAIM
 6                                  Americans with Disabilities Act of 1990
 7                               Denial of “Full and Equal” Enjoyment and Use
 8           16.     Plaintiff re-pleads and incorporates by reference the allegations contained in
 9   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
10           17.     Title III of the ADA holds as a “general rule” that no individual shall be
11   discriminated against on the basis of disability in the full and equal enjoyment (or use) of
12   goods, services, facilities, privileges, and accommodations offered by any person who owns,
13   operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14           18.     Defendant discriminated against Plaintiff by denying Plaintiff “full and equal
15   enjoyment” and use of the goods, services, facilities, privileges and accommodations of the
16   Facility during each visit and each incident of deterrence.
17                      Failure to Remove Architectural Barriers in an Existing Facility
18           19.     The ADA specifically prohibits failing to remove architectural barriers, which
19   are structural in nature, in existing facilities where such removal is readily achievable. 42
20   U.S.C. § 12182(b)(2)(A)(iv).
21           20.     When an entity can demonstrate that removal of a barrier is not readily
22   achievable, a failure to make goods, services, facilities, or accommodations available through
23   alternative methods is also specifically prohibited if these methods are readily achievable. Id.
24   § 12182(b)(2)(A)(v).
25           21.     Here, Plaintiff alleges that Defendant can easily remove the architectural
26   barriers at the Facility without much difficulty or expense, and that Defendant violated the
27   ADA by failing to remove those barriers, when it was readily achievable to do so.
28   //



     Hernandez v. Anabe, Incorporated
     Complaint
                                                   Page 4
         Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 5 of 9


 1            22.      In the alternative, if it was not “readily achievable” for Defendant to remove the
 2   Facility’s barriers, then Defendant violated the ADA by failing to make the required services
 3   available through alternative methods, which are readily achievable.
 4                                Failure to Design and Construct an Accessible Facility
 5            23.      Plaintiff alleges on information and belief that the Facility was designed and
 6   constructed (or both) after January 26, 1993 – independently triggering access requirements
 7   under Title III of the ADA.
 8            24.      The ADA also prohibits designing and constructing facilities for first occupancy
 9   after January 26, 1993, that aren’t readily accessible to, and usable by, individuals with
10   disabilities when it was structurally practicable to do so. 42 U.S.C. § 12183(a)(1).
11            25.      Here, Defendant violated the ADA by designing and constructing (or both) the
12   Facility in a manner that was not readily accessible to the physically disabled public –
13   including Plaintiff – when it was structurally practical to do so.1
14                                     Failure to Make an Altered Facility Accessible
15            26.      Plaintiff alleges on information and belief that the Facility was modified after
16   January 26, 1993, independently triggering access requirements under the ADA.
17            27.      The ADA also requires that facilities altered in a manner that affects (or could
18   affect) its usability must be made readily accessible to individuals with disabilities to the
19   maximum extent feasible. 42 U.S.C. § 12183(a)(2). Altering an area that contains a facility’s
20   primary function also requires making the paths of travel, bathrooms, telephones, and drinking
21   fountains serving that area accessible to the maximum extent feasible. Id.
22            28.      Here, Defendant altered the Facility in a manner that violated the ADA and was
23   not readily accessible to the physically disabled public – including Plaintiff – to the maximum
24   extent feasible.
25                                  Failure to Modify Existing Policies and Procedures
26            29.      The ADA also requires reasonable modifications in policies, practices, or
27   procedures, when necessary to afford such goods, services, facilities, or accommodations to
28   1
      Nothing within this Complaint should be construed as an allegation that Plaintiff is bringing this action as a
     private attorney general under either state or federal statutes.


     Hernandez v. Anabe, Incorporated
     Complaint
                                                           Page 5
          Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 6 of 9


 1   individuals with disabilities, unless the entity can demonstrate that making such modifications
 2   would fundamentally alter their nature. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3              30.   Here, Defendant violated the ADA by failing to make reasonable modifications
 4   in policies, practices, or procedures at the Facility, when these modifications were necessary to
 5   afford (and would not fundamentally alter the nature of) these goods, services, facilities, or
 6   accommodations.
 7                                      Failure to Maintain Accessible Features
 8              31.   Defendant additionally violated the ADA by failing to maintain in operable
 9   working condition those features of the Facility that are required to be readily accessible to and
10   usable by persons with disabilities.
11              32.   Such failure by Defendant to maintain the Facility in an accessible condition
12   was not an isolated or temporary interruption in service or access due to maintenance or
13   repairs.
14              33.   Plaintiff seeks all relief available under the ADA (i.e., injunctive relief, attorney
15   fees, costs, legal expense) for these aforementioned violations. 42 U.S.C. § 12205.
16                                        VII.    SECOND CLAIM
17                                                Unruh Act
18              34.   Plaintiff re-pleads and incorporates by reference the allegations contained in
19   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
20              35.   California Civil Code § 51 states, in part, that: All persons within the
21   jurisdiction of this state are entitled to the full and equal accommodations, advantages,
22   facilities, privileges, or services in all business establishments of every kind whatsoever.
23              36.   California Civil Code § 51.5 also states, in part that: No business establishment
24   of any kind whatsoever shall discriminate against any person in this state because of the
25   disability of the person.
26              37.   California Civil Code § 51(f) specifically incorporates (by reference) an
27   individual’s rights under the ADA into the Unruh Act.
28   //



     Hernandez v. Anabe, Incorporated
     Complaint
                                                     Page 6
          Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 7 of 9


 1           38.     Defendant’s aforementioned acts and omissions denied the physically disabled
 2   public – including Plaintiff – full and equal accommodations, advantages, facilities, privileges
 3   and services in a business establishment (because of their physical disability).
 4           39.     These acts and omissions (including the ones that violate the ADA) denied,
 5   aided or incited a denial, or discriminated against Plaintiff by violating the Unruh Act.
 6           40.     Plaintiff was damaged by Defendant’s wrongful conduct, and seeks statutory
 7   minimum damages of $4,000 for each offense.
 8           41.     Plaintiff also seeks to enjoin Defendant from violating the Unruh Act (and
 9   ADA), and recover reasonable attorneys’ fees and costs incurred under California Civil Code
10   § 52(a).
11                                        VIII. THIRD CLAIM
12                         Denial of Full and Equal Access to Public Facilities
13           42.     Plaintiff re-pleads and incorporates by reference the allegations contained in
14   each of the foregoing paragraphs, and incorporates them herein as if separately re-pled.
15           43.     Health and Safety Code § 19955(a) states, in part, that: California public
16   accommodations or facilities (built with private funds) shall adhere to the provisions of
17   Government Code § 4450.
18           44.     Health and Safety Code § 19959 states, in part, that: Every existing (non-
19   exempt) public accommodation constructed prior to July 1, 1970, which is altered or
20   structurally repaired, is required to comply with this chapter.
21           45.     Plaintiff alleges the Facility is a public accommodation constructed, altered, or
22   repaired in a manner that violates Part 5.5 of the Health and Safety Code or Government Code
23   § 4450 (or both), and that the Facility was not exempt under Health and Safety Code § 19956.
24           46.     Defendant’s non-compliance with these requirements at the Facility aggrieved
25   (or potentially aggrieved) Plaintiff and other persons with physical disabilities. Accordingly,
26   Plaintiff seeks injunctive relief and attorney fees pursuant to Health and Safety Code § 19953.
27   //
28   //



     Hernandez v. Anabe, Incorporated
     Complaint
                                                   Page 7
          Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 8 of 9


 1                                          IX.      PRAYER FOR RELIEF
 2              WHEREFORE, Plaintiff prays judgment against Defendant for:
 3              1.       Injunctive relief, preventive relief, or any other relief the Court deems proper.
 4              2.       Statutory minimum damages under section 52(a) of the California Civil Code
 5                       according to proof.
 6              3.       Attorneys’ fees, litigation expenses, and costs of suit.2
 7              4.       Interest at the legal rate from the date of the filing of this action.
 8              5.       For such other and further relief as the Court deems proper.
 9
     Dated: 04/20/2020                                      MOORE LAW FIRM, P.C.
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11                                                          /s/ Tanya E. Moore
                                                            Tanya E. Moore
12                                                          Attorney for Plaintiff
13                                                          Gerardo Hernandez

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         This includes attorneys’ fees under California Code of Civil Procedure § 1021.5.



     Hernandez v. Anabe, Incorporated
     Complaint
                                                            Page 8
       Case 4:20-cv-02724-KAW Document 1 Filed 04/20/20 Page 9 of 9


 1
                                                VERIFICATION
 2
 3
              I, GERARDO HERNANDEZ, am the plaintiff in the above-entitled action. I have read
 4
     the foregoing Complaint and know the contents thereof. The same is true of my own
 5
     knowledge, except as to those matters which are therein alleged on information and belief, and
 6
     as to those matters, I believe them to be true.
 7
              I verify under penalty of perjury that the foregoing is true and correct.
 8
 9
10
     Dated:      04/20/2020                              /s/ Gerardo Hernandez
11                                                     Gerardo Hernandez
12
13           I attest that the original signature of the person whose electronic signature is shown
     above is maintained by me, and that his concurrence in the filing of this document and
14   attribution of his signature was obtained.
15                                                            /s/ Tanya E. Moore
16                                                     Tanya E. Moore
                                                       Attorney for Plaintiff,
17                                                     Gerardo Hernandez
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     Hernandez v. Anabe, Incorporated
     Complaint
                                                    Page 9
